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                            UNITED STATES DISTRICT COURT
                        DISTRICT OF IDAHO (NORTHERN DIVISION)

CODY J. SCHUELER, an individual,

                        Plaintiff,                 Case No. 2:22-cv-00389-DCN

      v.
                                                   DECLARATION OF CODY J.
FOUR SQUAREBIZ, LLC, a Wyoming                     SCHUELER IN SUPPORT OF
limited liability company, KEITH O.                MOTION FOR DEFAULT
CREWS, an individual and the associated            JUDGMENT
marital community, MICAH EIGLER, an
individual and the associated marital
community, and JOHN AND JANE DOES
1-10,

                        Defendants.


      I, Cody J. Schueler, hereby declare the foregoing is true and correct:

      1.       I am over the age of eighteen and competent to testify regarding the matters

               stated herein.

      2.       I am the Plaintiff in this matter. I make this Declaration in support of the

               accompanying Motion for Default Judgment against Defendants Four




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            SquareBiz, LLC, Keith Crews, and Micah Eigler (collectively referred to as

            “Defendants”).

   3.       I have reviewed the Complaint (ECF No. 1) filed on September 12, 2022, verify

            the contents thereof, and incorporate the factual background of such Complaint

            as if restated verbatim herein.

   4.       The Bitcoin Loan Agreements, including the attachments thereto, and Personal

            Guarantees accompanying the Complaint (ECF No. 1) are true and correct

            copies of those documents.

   5.       I funded the first Bitcoin Loan Agreement on March 27, 2021. On that date, I

            disbursed five Bitcoins to Defendants via the BTC Wallet address referenced in

            the Agreement.        At that time, the market value of the five Bitcoins was

            approximately $55,973.51 at closing as indicated by Yahoo Finance.

   6.       Defendants never performed under the first Bitcoin Loan Agreement and never

            repaid me the applicable principal loaned.

   7.       I funded the second Bitcoin Loan Agreement on April 26, 2021. On that date, I

            disbursed $363,000 in Bitcoin to Defendants via the BTC Wallet address

            referenced in the Agreement.

   8.       Defendants never performed under the second Bitcoin Loan Agreement and

            never repaid me the applicable principal loaned.




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     9.       I funded the third Bitcoin Loan Agreement on April 29, 2021. On that date, I

              disbursed $296,100 in Bitcoin to Defendants via the BTC Wallet address

              referenced in the Agreement.

     10.      Defendants never performed under the third Bitcoin Loan Agreement and never

              repaid me the applicable principal loaned.

     11.      Defendants are in Default. As Plaintiff, I respectfully request the Court enter a

              Default Judgment as indicated in the accompanying Motion for Default

              Judgment.

     I hereby declare the foregoing is true and correct under penalty of perjury of the laws of

the United States of America and State of Idaho.

                   29th day of March, 2023 in Coeur d’Alene, Idaho.
     EXECUTED this _____


                                               By:
                                                     Cody J. Schueler




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                                  CERTIFICATE OF SERVICE

     The undersigned certifies, under penalty of perjury of the laws of the United States, that

on the date given below, I caused to be served in the manner noted copies of the foregoing

document upon the following parties:

    Keith Crews                                         U.S. Mail
    1503 Scenic Overlook Court                          Facsimile
    Kennesaw, GA 30152                                  E-Mail
                                                        Via Hand Delivery

    Four SquareBiz, LLC                                 U.S. Mail
    C/o Registered Agents Inc.                          Facsimile
    30 North Gould Street, Suite R                      E-Mail
    Sheridan, WY 82801
                                                        Via Hand Delivery


     EXECUTED this 11th day of August, 2023 in Spokane, Washington.


                                        By: /s/ Jodi Dineen
                                           Jodi Dineen




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